Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 1 of 6
Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 2 of 6
Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 3 of 6
Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 4 of 6
Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 5 of 6
Case 2:15-cv-00293 Document 1 Filed on 07/10/15 in TXSD Page 6 of 6
